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               Jason M. Rund              Main Document Page 1 of 14
               270 Coral Circle
               El Segundo, CA 90245
               Telephone: 310-640-1200
               Facsimile: 310-640-0200
1A
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 ary
 2 Services    Email: jrund@srlawyers.com
                                      UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                            LOS ANGELES DIVISION

               In Re:                                              §
                                                                   §
               YOUTH POLICY INSTITUTE, INC.                        §      Case No. 2:19-bk-23085-BB
                                                                   §
                                   Debtor                          §

                                                 NOTICE OF TRUSTEE’S FINAL REPORT AND
                                                   APPLICATIONS FOR COMPENSATION
                                                     AND DEADLINE TO OBJECT (NFR)

                        Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that JASON M.
               RUND, TRUSTEE, trustee of the above styled estate, has filed a Final Report and the trustee and the
               trustee’s professionals have filed final fee applications, which are summarized in the attached Summary
               of Trustee's Final Report and Applications for Compensation.

                       The complete Final Report and all applications for compensation are available for inspection at
               the Office of the Clerk, at the following address:
                                                     United States Bankruptcy Court
                                                     Central District of California
                                                     Edward R. Roybal Federal Building
                                                     255 E. Temple Street, Room 100
                                                     Los Angeles, California 90012

                       A hearing on the Trustee's Final Report and Applications for Compensation will be held at
               2:00 p.m. on November 15, 2023 in Courtroom 1539, Edward R. Roybal Federal Building and
               Courthouse, located at 255 East Temple Street, Los Angeles, California 90012. Any person
               wishing to object to any fee application that has not already been approved, or to the Trustee's
               Final Report, must file a written opposition thereto pursuant to Local Bankruptcy Rule 9013-1(f)
               not later than 14 days before the date designated for hearing and serve a copy of the opposition
               upon the trustee, any party whose application is being challenged and the United States Trustee.
               Untimely objections may be deemed waived. In the absence of a timely objection by the United
               States Trustee or other party in interest, the Court may discharge the Chapter 7 Trustee and close
               the case without reviewing the Final Report and Account or determining the merits of the Chapter
               7 Trustee's certification that the estate has been fully administered. See Federal Rule of
               Bankruptcy Procedure 5009.

               Date Mailed: 10/12/2023                                 By: /s/ JASON M. RUND




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                                              UNITED STATES BANKRUPTCY COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
                                                    LOS ANGELES DIVISION


      In Re:                                                               §
                                                                           §
      YOUTH POLICY INSTITUTE, INC.                                         §          Case No. 2:19-bk-23085-BB
                                                                           §
                             Debtor                                        §

                                             SUMMARY OF TRUSTEE'S FINAL REPORT
                                             AND APPLICATIONS FOR COMPENSATION


                   The Final Report shows receipts of                                                                 $                6,677,810.76
                   and approved disbursements of                                                                      $                2,498,191.81
                                                            1
                   leaving a balance on hand of                                                                       $                4,179,618.95


                 Claims of secured creditors will be paid as follows:

                                                                                 Allowed                   Interim
                                                                                 Amount of                 Payment to               Proposed
       Claim No. Claimant                                 Claim Asserted         Claim                     Date                     Payment
                        BB&T now Truist,
                        Bankruptcy
       000028           Management                    $         109,325.73 $           109,325.73 $                        0.00 $                   0.00
                        Nonprofit Finance
       000130A          Fund                          $ 4,350,000.00 $                 826,933.37 $              826,933.37 $                       0.00
                        Los Angeles
                        Unified School
       000142B          District                      $         399,115.53 $           399,115.53 $                        0.00 $                   0.00
                   Total to be paid to secured creditors                                                              $                             0.00
                   Remaining Balance                                                                                  $                4,179,618.95


____________________
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

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               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                          Interim Payment      Proposed
                        Reason/Applicant              Total Requested     to Date              Payment
      Trustee Fees: JASON M. RUND,
      TRUSTEE                                         $      223,584.32 $                 0.00 $    223,584.32
      Trustee Expenses: JASON M. RUND,
      TRUSTEE                                         $        6,377.13 $                 0.00 $         6,377.13
      Attorney for Trustee Fees: Greenberg
      Glusker Fields                                  $      558,314.50 $                 0.00 $    558,314.50
      Attorney for Trustee Expenses: Greenberg
      Glusker Fields                                  $        9,488.16 $                 0.00 $         9,488.16
      Accountant for Trustee Fees: HAHN FIFE
      & COMPANY LLP                                   $       40,476.00 $                 0.00 $      40,476.00
      Accountant for Trustee Expenses: HAHN
      FIFE & COMPANY LLP                              $          921.10 $                 0.00 $          921.10
      Charges: United States Bankruptcy Court         $          350.00 $                 0.00 $          350.00
      Other: Interco Management Corporation           $       45,000.00 $                 0.00 $      45,000.00
      Other: Interco Management Corporation           $        5,681.40 $                 0.00 $         5,681.40
      Other: LAW OFFICE OF PHILIP
      DRACHT                                          $    1,612,642.68 $     1,612,642.68 $                 0.00
      Other: LAW OFFICE OF PHILIP
      DRACHT                                          $        1,701.96 $          1,701.96 $                0.00
      Other: MDB International Branding LLC           $      105,000.00 $                 0.00 $    105,000.00
      Other: Barbara J Schwartz                       $          590.63 $                 0.00 $          590.63
      Other: FRANCHISE TAX BOARD                      $        3,793.68 $                 0.00 $         3,793.68
                Total to be paid for chapter 7 administrative expenses                $             999,576.92
                Remaining Balance                                                     $            3,180,042.03


               Applications for prior chapter fees and administrative expenses have been filed as follows:




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                                                              NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 1,104,782.01 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                      Allowed Amount   Interim Payment to
     Claim No.          Claimant                      of Claim         Date               Proposed Payment
                        HEATHER
     000001             FUKUNAGA                  $           4,995.98 $           0.00 $          4,995.98
     000002             Amber Skrumbis            $           3,405.00 $           0.00 $          3,405.00
     000003             STANLEY SAUNDERS $                       0.00 $            0.00 $              0.00
     000004             ANGELICA ARNOLD           $           3,390.96 $           0.00 $          3,390.96
     000005             Sofia Goode               $           3,251.86 $           0.00 $          3,251.86
     000007             VERONICA Z. ANAYA $                   2,143.77 $           0.00 $          2,143.77
     000008             JOSE ESTRADA              $            310.00 $            0.00 $            310.00
     000009             Carlos Saul Sical Sanhez $            2,570.74 $           0.00 $          2,570.74
     000011             CAMILLE BULACLAC $                    2,152.40 $           0.00 $          2,152.40
     000014             JULIE LE                  $           2,031.48 $           0.00 $          2,031.48
     000020             NICHOLAS WU               $         10,106.27 $            0.00 $        10,106.27
     000026             EMILSA GUTIERREZ          $           3,536.30 $           0.00 $          3,536.30
     000029             MAYRA GUTIERREZ           $           3,361.08 $           0.00 $          3,361.08
     000030             John Terre                $              0.00 $            0.00 $              0.00
                        KIMBERLY A
     000031             MELGAR                    $            201.60 $            0.00 $            201.60
     000032             WANDA WADE                $              0.00 $            0.00 $              0.00
     000033             SONIA MORENO              $           2,012.00 $           0.00 $          2,012.00
     000034             HECTOR SERRATO            $           3,903.91 $           0.00 $          3,903.91
     000035             DAVID ORTIZ JR            $              0.00 $            0.00 $              0.00




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                                                   Allowed Amount    Interim Payment to
     Claim No.          Claimant                   of Claim          Date               Proposed Payment
     000036             MARVIN A RAMIREZ $                  303.68 $             0.00 $           303.68
     000037             MICHELLE B EMELLE $                   0.00 $             0.00 $             0.00
     000038             DREW WARMSLEY             $           0.00 $             0.00 $             0.00
     000039             LUIS CARBAJO              $        8,581.11 $            0.00 $         8,581.11
     000041             JASMINE TOVER             $        5,521.00 $            0.00 $         5,521.00
     000042             DIANA MEJIA               $        1,438.53 $            0.00 $         1,438.53
     000045A            BRYAN COREAS              $        3,289.61 $            0.00 $         3,289.61
     000046             MARISSA C JOHNSON $                 206.25 $             0.00 $           206.25
     000047             LUIS GOMEZ                $        3,240.16 $            0.00 $         3,240.16
     000051A            Marin Harper              $           0.00 $             0.00 $             0.00
     000052             EDWARD L KLEIN            $         242.25 $             0.00 $           242.25
     000053             HAZIEL I ANGELES          $           0.00 $             0.00 $             0.00
     000054             ANA OSTORGA               $         186.24 $             0.00 $           186.24
     000055             DYLAN J CAMPBELL $                  154.60 $             0.00 $           154.60
     000056             YESENIA IBARRA            $        5,656.76 $            0.00 $         5,656.76
     000060             DIANE ESTRADA             $        1,884.20 $            0.00 $         1,884.20
     000064             ROXANA MAYORGA $                   1,266.51 $            0.00 $         1,266.51
     000067B            Think Together            $           0.00 $             0.00 $             0.00
     000071             ZULY REYES                $        1,540.00 $            0.00 $         1,540.00
     000072             KARINA MOSQUEDA $                  1,885.26 $            0.00 $         1,885.26
                        Wendy Fabiola
     000074             Quinonez                  $        2,000.00 $            0.00 $         2,000.00
     000075             KARLA ROBLES              $           0.00 $             0.00 $             0.00
     000076A            BELINDA KWAN              $        2,781.93 $            0.00 $         2,781.93
                        DANIELA J FLORES
     000077             BUSSO                     $        2,416.72 $            0.00 $         2,416.72
     000082A            AURELIA ORTIZ             $        1,779.83 $            0.00 $         1,779.83




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                                                   Allowed Amount    Interim Payment to
     Claim No.          Claimant                   of Claim          Date               Proposed Payment
     000083A            Paola Mejia               $         283.51 $             0.00 $           283.51
     000084             ALMA R ESTEVEZ            $        4,756.74 $            0.00 $         4,756.74
                        CATALINA
     000085             RODRIGUEZ                 $           0.00 $             0.00 $             0.00
     000087             DELVY I GARCIA            $        1,003.62 $            0.00 $         1,003.62
     000089             RUTH MONZON               $           0.00 $             0.00 $             0.00
     000090             Irma Leticia Sepulveda    $        2,584.68 $            0.00 $         2,584.68
     000091A            JESSICA HENDRICKS $                3,282.57 $            0.00 $         3,282.57
     000092             Pedro T. Chavira          $        3,443.37 $            0.00 $         3,443.37
     000095             KARLA ROBLES              $           0.00 $             0.00 $             0.00
     000096             CICELY MAJEED             $        2,037.00 $            0.00 $         2,037.00
                        VANESSA NUNEZ
     000097             CRUZ                      $        2,196.40 $            0.00 $         2,196.40
     000100             Lena Georgas              $        4,927.60 $            0.00 $         4,927.60
     000102             MARIA URQUILLA            $           0.00 $             0.00 $             0.00
     000107             BRIAN J MARTINEZ          $         863.94 $             0.00 $           863.94
                        MELISSA MARTINEZ
     000108             E                $                 1,806.42 $            0.00 $         1,806.42
                        MARIA VALLEJO
     000109             VAZQUEZ                   $        1,151.24 $            0.00 $         1,151.24
     000110             NANCY CARDENAS            $         245.14 $             0.00 $           245.14
     000111             LILIANA BARBA             $           0.00 $             0.00 $             0.00
     000112             NOEMI RODRIGUEZ           $        4,238.55 $            0.00 $         4,238.55
     000113             DANIEL GRUNFELD           $      10,433.65 $             0.00 $        10,433.65
     000116             MARILU RAMOS              $         180.87 $             0.00 $           180.87
     000117             ROSA RAMIREZ              $        2,708.63 $            0.00 $         2,708.63
     000118             Ariella Ramirez           $           0.00 $             0.00 $             0.00
     000119             RENEE OCHOA               $         129.69 $             0.00 $           129.69




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                                                   Allowed Amount    Interim Payment to
     Claim No.          Claimant                   of Claim          Date               Proposed Payment
                        DANIELLE K
     000120             MARTINEZ                  $         289.98 $             0.00 $           289.98
     000121             AUDREY LOPEZ              $         163.87 $             0.00 $           163.87
     000122             PAOLA HUERTA              $         220.87 $             0.00 $           220.87
     000123             ALEX GONZALEZ             $           0.00 $             0.00 $             0.00
     000124             MIGUEL A GARCIA           $         187.07 $             0.00 $           187.07
                        HUGO CRISOSTOMO-
     000125             ROMO             $                  213.75 $             0.00 $           213.75
     000126             ROBERT BARBA              $         216.45 $             0.00 $           216.45
     000128A            JOCELYN FLORES            $         425.00 $             0.00 $           425.00
                        GUSTAVO
     000135             GUTIERREZ                 $        2,311.03 $            0.00 $         2,311.03
                        Labor Commissioner of
     000137A            the State of              $     620,536.37 $             0.00 $       620,536.37
                        MARYAM MALEKI
     000145             MS RD                     $        6,435.00 $            0.00 $         6,435.00
     000146A            Dixon Slingerland         $           0.00 $             0.00 $             0.00
     000149             STACY TAPIA               $        1,255.52 $            0.00 $         1,255.52
     000150             RANDY QUEZADA             $         275.50 $             0.00 $           275.50
     000151             YADIRA QUEZADA            $         759.20 $             0.00 $           759.20
                        INTERNAL REVENUE
     000158A            SERVICE          $                    0.00 $             0.00 $             0.00
                        California Dept. of Tax
     000159A            & Fee                     $      16,177.00 $             0.00 $        16,177.00
     000161             Kaiser Permanente         $     294,107.90 $             0.00 $       294,107.90
                        VERONICA
     000164             HERNANDEZ                 $        2,551.14 $            0.00 $         2,551.14
     000088A            Yehudellie LLC            $           0.00 $             0.00 $             0.00
                        FRANCHISE TAX
     000167A            BOARD                     $        2,516.23 $            0.00 $         2,516.23




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                                                      Allowed Amount   Interim Payment to
     Claim No.          Claimant                      of Claim         Date               Proposed Payment
                        INTERNAL REVENUE
     AUTO               SERVICE          $                    9,506.23 $             0.00 $           9,506.23
                        INTERNAL REVENUE
     AUTO               SERVICE          $                    1,117.88 $             0.00 $           1,117.88
                        INTERNAL REVENUE
     AUTO               SERVICE          $                    2,223.22 $             0.00 $           2,223.22
                        EMPLOYMENT
                        DEVELOPMENT
     AUTO               DEPARTMENT                $            124.22 $              0.00 $             124.22
                        EMPLOYMENT
                        DEVELOPMENT
     AUTO               DEPARTMENT                $           4,222.97 $             0.00 $           4,222.97
                        INTERNAL REVENUE
     AUTO               SERVICE          $                     189.00 $              0.00 $             189.00
                        EMPLOYMENT
                        DEVELOPMENT
     AUTO               DEPARTMENT                $             21.00 $              0.00 $               21.00
                        EMPLOYMENT
                        DEVELOPMENT
     AUTO               DEPARTMENT                $            714.00 $              0.00 $             714.00
                Total to be paid to priority creditors                                $           1,104,782.01
                Remaining Balance                                                     $           2,075,260.02


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 18,899,941.03 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 11.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                      Allowed Amount   Interim Payment to
     Claim No.          Claimant                      of Claim         Date               Proposed Payment
                        Jennifer Orozco
     000006             Esquivias                 $              0.00 $              0.00 $                0.00




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                                                   Allowed Amount    Interim Payment to
     Claim No.          Claimant                   of Claim          Date               Proposed Payment
                        Staples Business
     000010             Advantage                 $     176,352.10 $             0.00 $        19,363.89
     000012             Office Depot              $        1,638.94 $            0.00 $           179.96
                        UNIVERSITY OF LA
     000013             VERNE                     $      10,796.00 $             0.00 $         1,185.43
     000015             Direct Ed                 $     122,857.14 $             0.00 $        13,490.02
                        Newport International
     000016             United College            $      86,333.00 $             0.00 $         9,479.58
     000017             City Year, Inc.           $     230,000.00 $             0.00 $        25,254.56
                        National Career College,
     000018             Inc.                     $       29,595.00 $             0.00 $         3,249.60
     000019             Olivarend Inc.            $      27,583.70 $             0.00 $         3,028.76
                        IMPAQ International,
     000021             LLC                       $      36,022.74 $             0.00 $         3,955.39
     000022             City Year, Inc            $           0.00 $             0.00 $             0.00
                        Mitchell Silberberg &
     000023             Knupp                     $        3,590.50 $            0.00 $           394.25
     000024             DSH                       $      58,759.11 $             0.00 $         6,451.89
     000025             MEDG International, Inc $        18,000.00 $             0.00 $         1,976.44
     000027             Gopher Sport              $      10,166.31 $             0.00 $         1,116.29
     000040             STEM & MORE LLC           $      39,800.00 $             0.00 $         4,370.14
     000043             S&S WORLDWIDE             $        2,510.03 $            0.00 $           275.61
                        INTERNATIONAL
                        INSTITUTE OF LOS
     000044             ANGELES                   $      54,675.58 $             0.00 $         6,003.51
                        TOTAL CORPORATE
     000048             SOLUTIONS                 $         188.15 $             0.00 $            20.66
     000049             Fifth Road Inc            $        1,357.50 $            0.00 $           149.06
                        CLOUD FOR GOOD
     000050             LLC                       $        2,730.00 $            0.00 $           299.76
     000057             Kravitz Inc               $        3,873.75 $            0.00 $           425.35




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                                                    Allowed Amount    Interim Payment to
     Claim No.         Claimant                     of Claim          Date               Proposed Payment
     000058            Dell Marketing, L.P.        $      15,229.03 $             0.00 $         1,672.18
                       Uniforms and Safety
     000059            Supplies                    $        1,163.01 $            0.00 $           127.70
     000061            ChildCare Careers           $      39,028.52 $             0.00 $         4,285.43
                       Maximus Protective
     000062            Services                    $      41,677.38 $             0.00 $         4,576.28
                       Granada Hills High
     000063            School                      $     169,198.61 $             0.00 $        18,578.42
                       DISCOVERY SCIENCE
     000065            CENTER OF OC      $                16,750.00 $             0.00 $         1,839.19
                       MISSION ECONOMIC
                       DEVELOPMENT
     000066            AGENCY           $                   7,017.00 $            0.00 $           770.48
     000067A           Think Together              $     402,575.34 $             0.00 $        44,203.76
                       University of Southern
     000068            California                  $      41,000.00 $             0.00 $         4,501.90
                       American Express
     000069            National Bank               $     403,862.76 $             0.00 $        44,345.12
     000070            Wells Fargo Bank, N.A. $             2,052.68 $            0.00 $           225.39
     000073            Mimi Diep                   $      21,840.00 $             0.00 $         2,398.09
     000078            826LA                       $      41,281.00 $             0.00 $         4,532.76
                       California Emerging
     000079            Technology Fund             $      50,000.00 $             0.00 $         5,490.12
     000080            Public Counsel              $      42,400.25 $             0.00 $         4,655.65
                       EVALUATION
     000081            SPECIALISTS                 $      48,968.00 $             0.00 $         5,376.81
                       Career Development
     000086            Solutions LLC               $      46,859.00 $             0.00 $         5,145.23
     000088B           Yehudellie LLC              $      15,000.00 $             0.00 $         1,647.04
                       MULTICULTURAL
     000093            LEARNING CENTER             $     167,704.00 $             0.00 $        18,414.31
     000094            AAA Institute               $        1,900.00 $            0.00 $           208.62




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                                                    Allowed Amount    Interim Payment to
     Claim No.         Claimant                     of Claim          Date               Proposed Payment
     000098            Blanca Rios                 $           0.00 $             0.00 $             0.00
                       City of Philadelphia Law
     000099            Tax & Revenue            $         53,898.44 $             0.00 $         5,918.18
                       MDB International
     000101A           Branding LLC                $     662,662.36 $             0.00 $        72,761.96
     000103            ROCIO R RODRIGUEZ $                     0.00 $             0.00 $             0.00
     000104            C3 Business Solutions       $      46,161.25 $             0.00 $         5,068.62
     000105            ROCIO R RODRIGUEZ $                     0.00 $             0.00 $             0.00
                       Wells Fargo Vendor
     000106            Financial Services          $     113,779.24 $             0.00 $        12,493.24
     000114            SARA ISRAEL                 $        6,146.10 $            0.00 $           674.86
     000115            leap                        $      23,841.54 $             0.00 $         2,617.86
                       TransPerfect Document
     000127            Management, Inc.            $        3,265.00 $            0.00 $           358.51
     000129            Fresh Start Meals Inc       $      33,423.18 $             0.00 $         3,669.94
                       Cintas Corporation dba
     000131            Cintas Location             $        4,170.38 $            0.00 $           457.92
                       Pioneer Fire
     000132            Professionals, Inc.         $         180.86 $             0.00 $            19.86
                       EdNet Career Institute,
     000133            Inc.                        $      75,200.00 $             0.00 $         8,257.14
     000134            Oracle America, Inc         $      73,321.60 $             0.00 $         8,050.89
                       Orenda Education
     000136            (Principals Exchange)       $      88,100.00 $             0.00 $         9,673.60
     000138            Dolphin Trucking School $             800.40 $             0.00 $            87.89
                       JENNIFER OROZCO
     000139            ESQUIVAS                    $           0.00 $             0.00 $             0.00
     000140            A.M., a Minor               $           0.00 $             0.00 $             0.00
     000141            I.A., a Minor               $           0.00 $             0.00 $             0.00
                       Los Angeles Unified
     000142A           School District             $     294,100.47 $             0.00 $        32,292.96




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                                                    Allowed Amount    Interim Payment to
     Claim No.         Claimant                     of Claim          Date               Proposed Payment
                       Teachers On Reserve
     000143            LLC                         $      25,002.37 $             0.00 $         2,745.32
                       Kounkuey Design
     000144            Initiative, Inc.            $        3,253.83 $            0.00 $           357.28
                       California Institute of
     000147            Technology,                 $     299,968.00 $             0.00 $        32,937.22
                       HACIENDA LA
                       PUENTE ADULT
     000148            EDUCATION/HACIE             $        8,925.00 $            0.00 $           979.99
                       Los Angeles Valley
     000152            College -                   $        1,615.00 $            0.00 $           177.33
                       National Career College,
     000153            Inc.                     $         29,595.00 $             0.00 $         3,249.60
     000155            Bright Star Schools         $     482,189.00 $             0.00 $        52,945.54
                       California Department of
     000156            Education                $       8,840,512.00 $            0.00 $       970,709.97
                       The Regents of the
     000157            University of               $     167,980.88 $             0.00 $        18,444.71
                       Department of Labor,
     000162            Employee                    $      49,050.00 $             0.00 $         5,385.81
                       California Community
     000163            Foundation                  $     400,000.00 $             0.00 $        43,920.98
     000165            MARISSA C JOHNSON $                     0.00 $             0.00 $             0.00
     000082B           AURELIA ORTIZ               $        3,465.38 $            0.00 $           380.51
     000083B           Paola Mejia                 $        1,313.25 $            0.00 $           144.20
     000128B           JOCELYN FLORES              $        7,914.00 $            0.00 $           868.98
                       California Dept. of Tax
     000159B           & Fee                       $         808.86 $             0.00 $            88.81
     000091B           JESSICA HENDRICKS $                  3,259.20 $            0.00 $           357.87
     000076B           BELINDA KWAN                $        3,371.44 $            0.00 $           370.19
     000130B           Nonprofit Finance Fund $         3,523,066.63 $            0.00 $       386,841.38
                       FRANCHISE TAX
     000167B           BOARD                       $         411.84 $             0.00 $            45.23




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                                                    Allowed Amount       Interim Payment to
     Claim No.         Claimant                     of Claim             Date               Proposed Payment
                       Labor Commissioner of
     000137B           the State of                $    1,076,852.40 $               0.00 $         118,241.04
                Total to be paid to timely general unsecured creditors                $           2,075,260.02
                Remaining Balance                                                     $                    0.00


              Tardily filed claims of general (unsecured) creditors totaling $ 3,265.00 have been allowed and
     will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
     claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
     interest (if applicable).

                 Tardily filed general (unsecured) claims are as follows:

                                                    Allowed Amount       Interim Payment to
     Claim No.         Claimant                     of Claim             Date               Proposed Payment
                       TransPerfect Legal
     000154            Solutions                   $        3,265.00 $               0.00 $                0.00
                Total to be paid to tardy general unsecured creditors                 $                    0.00
                Remaining Balance                                                     $                    0.00


            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 65,804.63 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:

                                                    Allowed Amount       Interim Payment to
     Claim No.         Claimant                     of Claim             Date               Proposed Payment
                       INTERNAL REVENUE
     000158B           SERVICE          $                  62,569.23 $               0.00 $                0.00
                       California Dept. of Tax
     000159C           & Fee                       $        3,235.40 $               0.00 $                0.00
                Total to be paid to subordinated unsecured creditors                  $                    0.00
                Remaining Balance                                                     $                    0.00




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                                                 Prepared By: /s/JASON M. RUND


     JASON M. RUND, TRUSTEE
     270 CORAL CIRCLE
     EL SEGUNDO, CA 90245


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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